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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JE                                            )
                                              )      Case No. 23-cv-2204
v.                                            )
                                              )      Judge: Hon.
THE PARTNERSHIPS and                          )
UNINCORPORATED ASSOCIATIONS                   )      Magistrate: Hon.
IDENTIFIED ON SCHEDULE “A”                    )
                                              )



                                          COMPLAINT

        Plaintiff, JE (“JE” or “Plaintiff”), by Plaintiff’s undersigned counsel, hereby complains

 of the Partnerships and Unincorporated Associations identified on Schedule A attached hereto

 (collectively, “Defendants”), and for Plaintiff’s Complaint hereby alleges as follows:

                                JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Federal Copyright Act, 17 U.S.C. § 101, et seq., 28 U.S.C. §

 1338(a)–(b) and 28 U.S.C. § 1331.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

 properly exercise personal jurisdiction over Defendants since each of the Defendants directly

 targets consumers in the United States, including Illinois, through at least the fully interactive

 commercial internet stores operating under the Defendant aliases and/or the online marketplace

 accounts identified in Schedule A attached hereto (collectively, the “Defendant Internet

 Stores”). Specifically, Defendants are reaching out to do business with Illinois residents by

 operating one or more commercial, interactive Internet Stores through which Illinois residents

 can purchase products bearing infringing versions of Plaintiff’s copyrighted works. Each of the
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Defendants has targeted Illinois residents by operating online stores that offer shipping to the

United States, including Illinois, accept payment in U.S. dollars via credit cards and/or PayPal

and, on information and belief, has sold products bearing infringing versions of Plaintiff’s

federally registered copyrighted works to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully

caused Plaintiff substantial injury in the State of Illinois.

        3.       This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this judicial district, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in

this judicial district.

                                        INTRODUCTION

        4.       Plaintiff, JE, is the owner of the federal copyright registrations that protect the

creative content of Plaintiff’s images and illustrations. Plaintiff is a professional artist from

Canada. Plaintiff’s work combines natural images and scenes to create compelling works of art.

        5.       This action has been filed by Plaintiff to combat online copyright infringers who

trade upon Plaintiff’s reputation, goodwill, and valuable copyrights by selling and/or offering

for sale products in connection with Plaintiff’s works. In addition, the Defendants are selling

unauthorized products that are based on and derived from the copyrighted subject matter of

Plaintiff’s images and illustrations.

        6.       Plaintiff is the owner of United States Copyright Registration Nos.

[REDACTED] (the “JE Works”) and the registrations are attached hereto as Exhibit 1. Upon

information and belief, the copyrights have effective dates that predate the Defendants’ acts of

copyright infringement.
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          7.    In an effort to illegally profit from the creative content of JE, Defendants have

created numerous Defendant Internet Stores and designed them to appear to be selling

authorized JE products.

          8.    The Defendant Internet Stores share unique identifiers, such as design elements

and similarities of the unauthorized products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same

transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid

liability by going to great lengths to conceal both their identities and the full scope and

interworking of their illegal operation. Plaintiff is forced to file this action to combat

Defendants’ infringement of the JE Works. Plaintiff has been and continues to be irreparably

damaged through loss of ability to license, loss of future sales, and loss of control over the

creative content of the valuable copyrights, the quality of products sold in connection with

Plaintiff’s copyrighted material, ability to license these products, and damage to Plaintiff’s

reputation and good will as a result of Defendants’ actions and seeks injunctive and monetary

relief.

          9.    The rise of online retailing, coupled with the ability of e-commerce sites to hide

their identities, has made it nearly impossible for policing actions to be undertaken since availing

itself of takedown procedures to remove infringing products would be an ineffective and endless

game of whack-a-mole against the mass piracy that is occurring over the internet. The aggregated

effect of the mass infringement that is taking place has overwhelmed Plaintiff and Plaintiff’s

ability to police Plaintiff’s rights against the hundreds of anonymous defendants which are

selling illegal infringing products at prices below an original.

          10.   The Defendant Internet Stores share unique identifiers, such as design elements
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and similarities of the unauthorized products offered for sale, establishing a logical relationship

between them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants use aliases to avoid liability by

going to great lengths to conceal both their identities as well as the full scope and interworking

of their illegal network.

        11.     Plaintiff has been and continues to be irreparably harmed through the loss of

control over Plaintiff’s reputation, good will, ability to license, and the quality of goods featuring

the JE Works. The rise of e-Commerce as a method of supplying goods to the public exposes

brand holders and content creators that make significant investments in their products to

significant harm from counterfeiters and infringers.

        12.     Plaintiff’s investigation shows that the telltale signs of an illegal infringement ring

are present in the instant action. For example, Schedule A shows the use of store names by the

Defendant Internet Stores that employ no normal business nomenclature and, instead, have the

appearance of being made up, or if a company that appears to be legitimate is used, online research

shows that there is no known address for the company. Thus, the Defendant Internet Stores are

using fake online storefronts designed to appear to be selling genuine Plaintiff products, while

selling inferior imitations of Plaintiff’s products.



                                        THE PLAINTIFF

        13.     Plaintiff, JE, is the owner of the copyright registrations that protect the creative

content of the JE Works. The registrations are valid, subsisting and in full force and effect. True

and correct copies of the registrations are attached hereto as Exhibit 1.

        14.     JE has expended substantial time, money, and other resources in developing,
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advertising, and otherwise promoting the JE Works. As a result, products associated with the JE

Works are recognized and exclusively associated by consumers, the public, and the trade as

products associated with and authorized by Plaintiff (the “JE Products”).

        15.      In an effort to illegally profit from the creative content of JE Works, Defendants

have created numerous Defendant Internet Stores and they have designed them to appear to be

selling authorized JE Products.

        16.      No one other than Plaintiff and Plaintiff’s licensees are authorized to

manufacture, import, export, advertise, create derivative works, offer for sale, or sell any goods

utilizing the JE Works without the express written permission of JE.



                                      THE DEFENDANTS

        17.      Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within Illinois and in this judicial district,

through the operation of the fully interactive commercial websites and online marketplaces

operating under the Defendant Internet Stores. Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine JE Products. Each Defendant targets the

United States, including Illinois, and has offered to sell and, on information and belief, has sold

and continues to sell illegal JE Products to consumers within the United States, including Illinois

and in this judicial district.



                                 THE DEFENDANTS’ UNLAWFUL
                                         CONDUCT
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        18.     The success of the JE Works has resulted in significant copying of the creative

content protected by Plaintiff’s copyright registrations. Plaintiff has identified numerous fully

interactive websites hosted on various e-commerce sites. Each Defendant targets consumers in

the United States, including the State of Illinois, and has offered to sell and, on information and

belief, has sold and continues to sell infringing products that violate Plaintiff’s intellectual

property rights in the JE Works (“Infringing Products”) to consumers within the United States,

including the State of Illinois.

        19.     The Defendant Internet Stores intentionally conceal their identities and the full

scope of their infringement operations in an effort to deter Plaintiff from learning Defendants’

true identities and the exact interworking of Defendants’ illegal operations. Through their

operation of the infringing Defendant Internet Stores, Defendants are directly and personally

contributing to, inducing and engaging in the sale of Infringing Products as alleged, often times

as partners, co- conspirators and/or suppliers. Upon information and belief, Defendants are an

interrelated group of infringers working in active concert to knowingly and willfully

manufacture, import, distribute, offer for sale, and sell Infringing Products.

        20.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the JE Works, including Plaintiff’s

exclusive right to use and license such intellectual property and the goodwill associated

therewith.

        21.     Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of

Defendant Internet Stores. Upon information and belief, Defendants regularly create new

websites and online marketplace accounts on various platforms using the identities listed in
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Schedule A to the Complaint, as well as other unknown fictitious names and addresses. Such

Defendant Internet Store registration patterns are one of many common tactics used by the

Defendants to conceal their identities, the full scope and interworking of their massive pirating

operation, and to avoid being shut down.

       22.     The Infringing Products for sale in the Defendant Internet Stores bear similarities

and indicia of being related to one another, suggesting that the Infringing Products were

manufactured by and come from a common source and that, upon information and belief,

Defendants are interrelated. The Defendant Internet Stores also include other notable common

features, including use of the same Defendant Internet Store registration patterns, unique shopping

cart platforms, accepted payment methods, check-out methods, meta data, illegitimate SEO

tactics, HTML user-defined variables, lack of contact information, identically or similarly priced

items and volume sales discounts, similar hosting services, similar name servers, and the use of

the same text and images.

       23.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online infringers use a variety of other common

tactics to evade enforcement efforts. For example, infringers like Defendants will often register

new online marketplace accounts under new aliases once they receive notice of a lawsuit.

Infringers also often move website hosting to rogue servers located outside the United States once

notice of a lawsuit is received. Rogue servers are notorious for ignoring takedown demands sent

by brand owners. Infringers also typically ship products in small quantities via international mail

to minimize detection by U.S. Customs and Border Protection.

       24.     Further, infringers such as Defendants, typically operate multiple credit card

merchant accounts and third-party accounts, such as PayPal, Inc. (“PayPal”) accounts, behind layers
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of payment gateways so that they can continue operation in spite of Plaintiff’s enforcement

efforts. Upon information and belief, Defendants maintain off-shore bank accounts and regularly

move funds from their accounts to off-shore bank accounts outside the jurisdiction of this Court.

Indeed, analysis of PayPal transaction logs from previous similar cases indicates that offshore

infringers regularly move funds from U.S.-based PayPal accounts to China-based bank accounts

outside the jurisdiction of this Court.

        25.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully pirated Plaintiff’s JE Works in connection with the advertisement, distribution,

offering for sale, and sale of illegal products into the United States and Illinois over the internet.

Each Defendant Internet Store offers shipping to the United States, including Illinois, and, on

information and belief, each Defendant has offered to sell Infringing Products into the United

States, including Illinois.



                                      COUNT I
                               COPYRIGHT INFRINGEMENT

        26.     Plaintiff repeats and incorporates by reference herein the allegations contained

in the above paragraphs of this Complaint.

        27.     The JE Works have significant value and have been produced and created at

considerable expense.

        28.     At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the JE Works,

including derivative works. The JE Works are the subject of valid Copyright Registration

Certificates issued by the Register of Copyrights. (Exhibit 1).

        29.     Each Defendant, without the permission or consent of Plaintiff, has, and
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continues to sell online pirated derivative works of the copyrighted JE Works. Each Defendant

has violated Plaintiff’s exclusive rights of reproduction and distribution. Each Defendant’s

actions constitute infringement of Plaintiff’s exclusive rights protected under the Copyright Act

(17 U.S.C. §101 et seq.).

        30.      The foregoing acts of infringement constitute a collective enterprise of shared,

overlapping facts and have been willful, intentional, and in disregard of and with indifference

to the rights of the Plaintiff.

        31.      As a result of each Defendant’s infringement of Plaintiff’s exclusive rights under

the Copyright Act, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to Plaintiff’s

attorneys’ fees and costs pursuant to 17 U.S.C. §505.

        32.      The conduct of each Defendant is causing and, unless enjoined and restrained by

this Court, will continue to cause Plaintiff great and irreparable injury that cannot fully be

compensated or measured monetarily. Plaintiff has no adequate remedy at law. Pursuant to 17

U.S.C. §§502 and 503, Plaintiff is entitled to injunctive relief prohibiting each Defendant from

further infringing Plaintiff’s copyrights and ordering that each Defendant destroy all

unauthorized copies.



                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

        1) That Defendants, their affiliates, officers, agents, employees, attorneys, and all

persons acting for, with, by, through, under, or in active concert with them be temporarily,

preliminarily, and permanently enjoined and restrained from:

        a. using the JE Works or any reproductions, copies, or colorable imitations thereof in

              any manner in connection with the distribution, marketing, advertising, offering for
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           sale, or sale of any product that is not an authorized JE Product or is not authorized

           by Plaintiff to be sold in connection with the JE Works;

       b. passing off, inducing, or enabling others to sell or pass off any product or not

           produced under the authorization, control, or supervision of Plaintiff and approved

           by Plaintiff for sale under the JE Works;

       c. further infringing the JE Works and damaging Plaintiff’s goodwill;

       d. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not authorized by Plaintiff to be sold or offered for sale, and which directly

           use the JE Works, and which are derived from Plaintiff’s copyrights in the JE Works;

           and

       e. using, linking to, transferring, selling, exercising control over, or otherwise owning

           the Defendant Internet Stores, or any other online marketplace account that is being

           used to sell products or inventory not authorized by Plaintiff which are derived from

           Plaintiff’s copyrights in the JE Works;

       2) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces, social media platforms,

Facebook, YouTube, LinkedIn, Twitter, internet search engines such as Google, Bing and

Yahoo, web hosts for the Defendant Internet Stores, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of products not authorized by Plaintiff which reproduce the JE

           Works or are derived from the JE Works, including any accounts associated with the

           Defendants listed on Schedule A;
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            b. disable and cease displaying any advertisements used by or associated with

               Defendants in connection with the sale of products not authorized by Plaintiff which

               are derived from the JE Works; and

            c. take all steps necessary to prevent links to the Defendant accounts identified on

               Schedule A from displaying in search results, including, but not limited to, removing

               links to the Defendant accounts from any search index;

            3) For Judgment in favor of Plaintiff against Defendants that they have: a) willfully

infringed Plaintiff’s rights in Plaintiff’s federally registered copyrights pursuant to 17 U.S.C.

§501; and b) otherwise injured the business reputation and business of Plaintiff by Defendants’

acts and conduct set forth in this Complaint;

            4) For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be determined

at trial;

            5) That Plaintiff be awarded reasonable attorneys’ fees and costs; and

            6) Award any and all other relief that this Court deems just and proper.


                                                Respectfully submitted,




                                                By:      s/David Gulbransen/
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                                                       Attorney of Record

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